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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA

       V.                                               l:09-cr-72 (LMB)
                                                        l:15-cv-69 (LMB)
SKYLARMARTI SCHNIPPEL,

               Movant.


                                  MEMORANDUM OPINION


       Skylar Marti Schnippel ("Schnippel"or "movant"), through counsel, has filed a Motion

to Vacate, Set Aside, or Correct Sentence Pursuantto 28 U.S.C. § 2255 ("Motion to Vacate"), in

which he arguesthat he is actually innocent of conspiracy to distribute, possession with the intent

to distribute, and distribution of heroin resulting in death basedon the recently issued Supreme

Courtdecision in Burrage v. United States. 134S. Ct. 881 (2014). Accordingly, Schnippel asks

that the judgment on Counts One and Two' be vacated, set aside, orcorrected. The government
has filed an opposition, to which Schnippel has replied. For the reasons that follow, Schnippel's

Motion to Vacate will be dismissed.

                                      I.   BACKGROUND

       On February 12, 2009, a federal grandjury returned an indictment charging Schnippel

with the following four offenses: conspiracy to distribute one kilogram or more of heroin, "the

use ofwhich resulted indeath and serious bodily injury,"^ inviolation of21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), and 846 (Count One); possession with intent to distribute heroin on March 4,

2008, "the use of which resulted in the death and serious bodily injury of Alicia Lannes," in

' Schnippel also asks that the judgment on Count Three be vacated; however, he was not
convicted of Count Three.

^Specifically, the "death and serious bodily injury" in Count One referred tothree overdoses of
Alicia Lannes—^two non-fatal overdoses in 2007 and a fatal overdose in March 2008.
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